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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

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RICHMOND DIVISION
CLERK, U.S. DISTRICT COURT
TRUSTEES OF THE PLUMBERS AND RICHMOND, VA
STEAMFITTERS UNION LOCAL NO. 10
APPRENTICESHIP FUND,
Plaintiff,
¥, Civil Action No. 3:24CV00180-HEH
VICTORIA NAPKY,
Defendant.

ORDER
(Settlement Conference Referral)

It is hereby ORDERED that the settlement conference and proceedings required
by section I(E)(1) of Pretrial Schedule A are referred to United States Magistrate Judge
Mark R. Colombell. Counsel shall be responsible for contacting the Chambers of
Magistrate Judge Colombell within five (5) days of the date of this Order to schedule the
conference, which should occur at least thirty (30) days before the start of trial and at such
time as Magistrate Judge Colombell shall approve.

The Clerk is directed to send a copy of this Order to Magistrate Judge Colombell and
to all counsel of record.

It is so ORDERED.

Nth

Henry E. Hudson
Senior United States District Judge

Richmond, Virginia
Date: August 2, 2024

